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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )       2:12-cr-104-MHT
PAUL HULSE, SR.,                   )             (WO)
STEVEN P. MOCK, and                )
FRANK J. TEERS                     )

                        OPINION AND ORDER

    This cause is before the court on defendants Paul

Hulse,   Sr.,    Steven    P.    Mock,    and    Frank    J.    Teers’s

unopposed oral motion to continue trial.             For the reasons

set forth below, the court finds that jury selection and

trial, currently set for February 11, 2013, should be

continued.

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

         “In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
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         indictment with the commission of an
         offense shall commence within seventy
         days from the filing date (and making
         public)    of   the    information    or
         indictment, or from the date the
         defendant has appeared before a judicial
         officer of the court in which such
         charge is pending, whichever date last
         occurs.”

18 U.S.C. § 3161(c)(1).        The Act excludes from the 70-day

period any continuance based on "findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial." § 3161(h)(7)(A).        In granting such a continuance,

the court shall consider, among other factors, whether

the failure to grant the continuance would “result in a

miscarriage of justice,” § 3161(h)(7)(B)(i), or "would

deny counsel for the defendant or the attorney for the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence."    § 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the



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interest of the public and the defendants in a speedy

trial. Through counsel, the defendants represent that,

due to the complexity of this case and the large amount

of documents presented through discovery, defense counsel

will be unable to mount effective defenses by the current

trial date.     Moreover, defendant Hulse has represented

through   counsel    that    the    doctor     retained    by    him    to

conduct a court-ordered psychological examination has

been unable to do so because of delays in obtaining

certain medical records.        Lastly, the government does not

oppose the motion.

                                   ***

    Accordingly, it is ORDERED as follows:

    (1) Defendants Paul Hulse, Sr., Steven P. Mock, and

Frank J. Teers’s oral motion for continuance, made in

open court on December 17, 2012, is granted.

    (2)   The    jury   selection        and   trial,   now     set     for

February 11, 2013, are continued to May 20, 2013, at

10:00 a.m. in Courtroom 2FMJ of the Frank M. Johnson Jr.



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United States Courthouse Complex, One Church Street,

Montgomery, Alabama.

    DONE, this the 18th day of December, 2012.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
